     Case 4:09-cr-00304-JMM Document 35 Filed 07/21/10 Page 1 of 16
                                                                        1




 1                     IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
 2                               WESTERN DIVISION

 3

 4     UNITED STATES OF AMERICA,

 5                          Plaintiff,       No.   4:09CR00304-01 JMM

 6
       v.
 7

 8     JARED ROSE,                           Wednesday, May 26, 2010
                            Defendant.       Little Rock, Arkansas
 9                                           2:37 p.m.

10

11                      TRANSCRIPT OF SENTENCING HEARING
                      BEFORE THE HONORABLE JAMES M. MOODY,
12                        UNITED STATES DISTRICT JUDGE

13
      APPEARANCES:
14
      On Behalf of the Plaintiff:
15
            MS. STEPHANIE MAZZANTI, Assistant United States Attorney
16            United States Attorney's Office
              Eastern District of Arkansas
17            Post Office Box 1229
              Little Rock, Arkansas 72203-1229
18

19    On Behalf of the Defendant:

20          MS. LISA G. PETERS, Assistant Federal Defender
              Federal Public Defender Office
21            The Victory Building
              1401 West Capitol Avenue, Suite 490
22            Little Rock, Arkansas 72201

23
      Defendant present
24
           Proceedings reported by machine stenography; transcript
25    prepared utilizing computer-aided transcription.


                           Elaine Hinson, RMR, CRR, CCR
                           United States Court Reporter
     Case 4:09-cr-00304-JMM Document 35 Filed 07/21/10 Page 2 of 16
                                                                             2




 1                            P R O C E E D I N G S

 2               THE COURT:    This is case No. 4:09CR304.       It's the

 3    United States against Jared Rose.       Mr. Rose is present with his

 4    attorney, Ms. Lisa Peters.      The government is represented by Ms.

 5    Stephanie Mazzanti.

 6         Mr. Rose, you were charged in Count 1 of a five-count

 7    indictment with conspiracy to manufacture methamphetamine on the

 8    premises in which an individual under the age of 18 was present

 9    or resided.    And that occurred on or before July of 2007.

10         Count 2 of that indictment charged you with possession with

11    intent to distribute methamphetamine on the premises in which an

12    individual under the age of 18 was present or resided.

13         Count 3 charged you with possession of chemicals and

14    equipment utilized in the manufacture of methamphetamine.

15         Count 4 charged you with possession of a firearm in

16    furtherance of drug trafficking.

17         And the date for Counts 2, 3, and 4 was about July the 7th

18    of 2009.

19         Then, finally, Count 5 charged you with possession of

20    chemicals and equipment utilized in the manufacture of

21    methamphetamine on August the 19th of 2009.

22         There was also a forfeiture allegation in the indictment

23    which listed two semiautomatic firearms.

24         Then on March the 11th of 2010 you were here with Ms.

25    Peters representing you.      You had entered into a written plea


                           Elaine Hinson, RMR, CRR, CCR
                           United States Court Reporter
     Case 4:09-cr-00304-JMM Document 35 Filed 07/21/10 Page 3 of 16
                                                                               3




 1    agreement before coming to court, and you pled guilty to Count 1

 2    of the indictment as well as the forfeiture allegation.         And

 3    when I accepted your plea, then the remaining counts were

 4    dismissed on the motion of the assistant U.S. attorney.         You

 5    stipulated to a base offense level of 34 and a career offender

 6    status, no enhancements under 21 U.S. Code Section 851, and a

 7    two-level reduction for acceptance of responsibility, and the

 8    possibility of a third point.

 9            Would he get the third point here today, Ms. Mazzanti?

10                 MS. MAZZANTI:   Yes, Your Honor.     The government moves

11    for the third point.

12                 THE COURT:   Okay.   That motion will be granted.    So,

13    Mr. Rose, you will be entitled to a third point for acceptance

14    of responsibility when I calculate the guideline range, and that

15    you also agree that the amount of the restitution payable would

16    be approximately $1,391.50.       That's the history of your case up

17    to this point.    And as I explained to you when you changed your

18    plea from not guilty to guilty, we would be back here today for

19    sentencing.

20            I've reviewed the presentence report.      I've also received a

21    number of letters that were written on your behalf, which I have

22    read.    And I'll factor all of that into consideration of what I

23    think the appropriate sentence should be.

24            Ms. Peters, you had, I believe, one objection in addition

25    to the third point, which is now moot.        Did you have an


                           Elaine Hinson, RMR, CRR, CCR
                           United States Court Reporter
     Case 4:09-cr-00304-JMM Document 35 Filed 07/21/10 Page 4 of 16
                                                                               4




 1    objection to the presentence report?

 2                 MS. PETERS:     Your Honor, the only other objection that

 3    we had was regarding the identifying data.         We wanted it listed

 4    somewhere.     We understand that the NCIC or ACIC may record other

 5    identifying data as far as the alternate dates of birth for Mr.

 6    Rose.    But Mr. Rose asserts that he has never used an alternate

 7    date of birth.    And we would just like it listed in the report

 8    that he has never personally used an alternate date.

 9                 THE COURT:    Okay.   We'll make that adjustment then to

10    the presentence report.

11                 MS. PETERS:     Thank you, Your Honor.   There were no

12    further objections.

13                 THE COURT:    Ms. Mazzanti, did you have any objections?

14                 MS. MAZZANTI:    No, Your Honor.

15                 THE COURT:    All right.   Thank you.

16            Mr. Rose, I'm going to calculate a guideline range now and

17    explain to you what my options are for sentencing.          We start

18    with a base offense level of 26.        And that's based on Guideline

19    Section 2D1.1(a)(5).       And a firearm was possessed in connection

20    with a drug trafficking activity so that there's a two-level

21    enhancement.    And then you possessed with intent to manufacture

22    and manufactured methamphetamine on the premises where minor

23    children were present or resided, so there's another three-level

24    enhancement.    And then you get three points for acceptance of

25    responsibility.


                           Elaine Hinson, RMR, CRR, CCR
                           United States Court Reporter
     Case 4:09-cr-00304-JMM Document 35 Filed 07/21/10 Page 5 of 16
                                                                               5




 1            However, because you are a career offender; that is, you

 2    were at least 18 years old at the time of this offense, the

 3    offense of conviction is either a felony or a crime of violence,

 4    and you had at least two prior felony convictions of either a

 5    crime of violence or a controlled substance offense, you are a

 6    career offender.     And I find that all of those criteria have

 7    been met.    That would put you then at an offense level of 34.

 8    And you get three points for acceptance of responsibility, so

 9    there's a total offense level of 31.        And you had 20 criminal

10    history points, which puts you in a criminal history category of

11    VI.

12            So, Ms. Peters, we have a 31 and a VI.      Any objection to

13    that?

14                 MS. PETERS:    No, Your Honor.

15                 THE COURT:    And it does not appear that Mr. Rose could

16    pay a fine.

17            These are my options then, Mr. Rose.      The statute provides

18    for a term of imprisonment of not less than five years nor more

19    than 40 years.    So there's a mandatory minimum five-year

20    sentence.    And then pursuant to 21 U.S. Code Section 860a, an

21    additional sentence of not more than 20 years consecutive is

22    required.

23            Then under the guidelines, for a total offense level of 31

24    and a criminal history of VI, the guideline imprisonment range

25    would be 188 to 235 months.


                           Elaine Hinson, RMR, CRR, CCR
                           United States Court Reporter
     Case 4:09-cr-00304-JMM Document 35 Filed 07/21/10 Page 6 of 16
                                                                              6




 1         The statute requires a term of supervised release of at

 2    least four years.     And that's also the case under the

 3    guidelines.

 4         There's no probation under either the statute or the

 5    guidelines.

 6         The statute would permit a fine up to $2 million with a

 7    special assessment of a hundred dollars, and the fine range

 8    under the guidelines would be from 15,000 to 2 million.         There's

 9    not going to be a fine, but there will be a $100 special

10    assessment, which is mandatory.       There is restitution also which

11    is mandatory in the amount of $1,391.50.        That would be payable

12    to the DEA Headquarters to the attention of Betty Myers in

13    Springfield, Virginia.

14         Any objection to those options?

15               MS. PETERS:    No, Your Honor.

16               THE COURT:    Ms. Peters, would you like to say

17    something for Mr. Rose?

18               MS. PETERS:    Your Honor, on behalf of Mr. Rose, this

19    is a very difficult case.      Of course, as the Court has pointed

20    out, Mr. Rose is looking at a minimum of five years and a

21    maximum of 40 under the statute and then not more than 20 years

22    consecutive for having the kids on the premises.

23         First of all, Your Honor, I would like to recognize in the

24    courtroom his mom is here, his stepfather.         And I believe two of

25    his friends are here as well, Brian Rose -- Brian Ross and


                           Elaine Hinson, RMR, CRR, CCR
                           United States Court Reporter
     Case 4:09-cr-00304-JMM Document 35 Filed 07/21/10 Page 7 of 16
                                                                               7




 1    Justin -- Jason Phillips.      His grandmother wanted to be here,

 2    Your Honor, but some things happened, and she could not make it.

 3    But I wanted the Court to understand and know that he has a

 4    supportive family yet still through it all.

 5         Your Honor, I think what the crux of the problem is is Mr.

 6    Rose is a career offender.      Because of the criminal history,

 7    he's looking at such a horrible sentence, he's facing such a

 8    horrible sentence.     I look at the criminal history, Your Honor.

 9    Of course, there's a lot of the drug issue involved in the

10    criminal history.     The majority of his crimes in the beginning

11    of his criminal career started occurring at the age of 24.         And

12    it looks like he amassed the majority of the criminal history

13    during the ages of 24 and 25.       Mr. Rose is 34 years of age now,

14    so approximately ten years ago is when he amassed the majority

15    of this that's come back to haunt him today.

16         Since Mr. Rose has been locked up, Your Honor, on this

17    instant offense -- and he's been locked up since 2009 -- - he

18    has lost his wife.     She was there with him and the children.

19    And he has lost her while incarcerated.        As well, he has lost

20    his own children as a result of this offense.         Of course, we may

21    not know what it feels like to have children taken away under

22    these types of situations.      But Mr. Rose has had plenty of time

23    to think about it while he's been sitting in the jails.         When

24    I've gone to talk to him, his concern has been about his

25    children and their well-being and how he takes full


                           Elaine Hinson, RMR, CRR, CCR
                           United States Court Reporter
     Case 4:09-cr-00304-JMM Document 35 Filed 07/21/10 Page 8 of 16
                                                                               8




 1    responsibility, how he has messed up.        He loves his children.

 2    That's the word that I get from talking with him, talking with

 3    his mother.    He loves the children.      He did, when they were in

 4    the house, he does admit that they were in the house when he was

 5    involved in this activity.      But he tried to put towels under the

 6    door, and the kids were not around.        They were on the premises,

 7    but they were not around when he was doing that.          And I think

 8    that that's important to point out to the Court.

 9            When I looked at this, Your Honor -- of course, knowing the

10    history of Mr. Rose, there are mental health issues involved

11    here, not enough to say that he was incompetent and did not know

12    what he was doing.     But there have been mental health issues

13    occurring with Mr. Rose over the years.        And I think that those

14    are evident in the presentence report.

15            As well, Your Honor, drug issues, anytime you mix mental

16    health issues and drugs, you have a formula for disaster.          And

17    that's what has happened with Mr. Rose.        But Mr. Rose will talk

18    about this more so.

19            But there's something in the presentence report.        Dr. Davis

20    was one of the physicians that Mr. Rose voluntarily went to and

21    asked Dr. Davis not to give him any type of narcotics because

22    Mr. Rose himself saw that that was the crux of his problem, the

23    drugs.    Whether they were legal or illegal, he did not need

24    them.    I think that speaks volumes for Mr. Rose.

25            Your Honor, in looking at a sentence on him, for him --


                           Elaine Hinson, RMR, CRR, CCR
                           United States Court Reporter
     Case 4:09-cr-00304-JMM Document 35 Filed 07/21/10 Page 9 of 16
                                                                                9




 1    first of all, I know under the guidelines he's looking at 188 to

 2    235 months.    180 months is 15 years, Your Honor.        The statute,

 3    again, is five years minimum to 40.        So that five years is a

 4    long way from that 15-year minimum.

 5         I know that the probation officer already factored in under

 6    paragraph 13 the specific offense characteristics.          She already

 7    factored in a three-level enhancement pursuant to 2D1.1(b)(10)

 8    because Mr. Rose possessed with intent to manufacture and

 9    manufactured methamphetamine on premises where minor children

10    were present or resided.      There's a three-level enhancement

11    already factored in.

12         What I did, Your Honor, was I took that three-level

13    enhancement out of the offense level, which would drop the

14    offense level down to a level 28.       Of course, with the same

15    criminal history category, he's at a criminal history guideline

16    range -- excuse me -- of 140 to 175 months if that three-level

17    enhancement is not factored in.       That's a difference of 48

18    months on the low end.      So with this three-level enhancement

19    added in, it's an additional minimum of four years that Mr. Rose

20    is facing.

21         In looking at the factors under 3553(a), Your Honor, I know

22    that the Court has to sentence Mr. Rose to a sentence that's

23    sufficient but not greater than necessary.         And I'm asking the

24    Court to consider a sentence that's sufficient but not greater

25    than necessary.    The guidelines itself calls for a minimum of


                           Elaine Hinson, RMR, CRR, CCR
                           United States Court Reporter
     Case 4:09-cr-00304-JMM Document 35 Filed 07/21/10 Page 10 of 16
                                                                                10




 1    five years.    Excuse me.    The statute calls for a minimum of five

 2    years.    I'm not asking the Court to simply give him the five

 3    years.    I know that his criminal history dictates that he get

 4    more than that, but what is sufficient, Your Honor, but not

 5    greater than necessary.

 6            If the Court looks, the minimum of the guideline range is

 7    15 years and eight months.       I would submit to the Court, based

 8    on what we've got, that that's more than sufficient and even

 9    greater than necessary.

10            And the reason that I say that is, looking at the issues

11    that Mr. Rose has, what could prison do for him?          First of all,

12    we know that he needs the RDAP program because of the drug

13    history that he has.      That RDAP program is for a year.        So we

14    have to make sure that he's locked up for at least a year to get

15    that.    He also needs some vocational training.        Looking at his

16    work history, it would be useful for him to get some type of

17    training so that when he gets back out he doesn't resort to the

18    same things that he has been going back to in the past.           He can

19    get that vocational training in less than the 15 years, Your

20    Honor, but greater than the five years.         As well, Your Honor, he

21    needs to be rehabilitated.       He needs the mental health

22    counseling.    He needs the drug issues.       He needs vocational

23    training, and he needs rehabilitation.         That could be done in

24    less than the 15 years that the guidelines recommend.            He needs

25    punishment.    We understand that, and we are willing to accept


                           Elaine Hinson, RMR, CRR, CCR
                           United States Court Reporter
     Case 4:09-cr-00304-JMM Document 35 Filed 07/21/10 Page 11 of 16
                                                                                 11




 1    the punishment, Your Honor.       Sufficient, but not greater than

 2    necessary is what I'm requesting.

 3          We don't want to make Mr. Rose a hardened criminal, Your

 4    Honor.   There are redeeming qualities I think in almost all of

 5    us, and I don't see Mr. Rose as being any different.             He's lost

 6    his family.    He's lost his wife.      He's lost his children.      Give

 7    him something to live for.       Give him some type of hope.       He's a

 8    34-year-old man that made several mistakes ten years ago.            I'm

 9    asking the Court to consider a sentence over 15 years, a

10    sentence of 15 years and more would only tend to harden him and

11    not rehabilitate him.

12          I believe that that's all that I have to say on Mr. Rose's

13    behalf, Your Honor.      I would just simply ask the Court for those

14    things sufficient but not greater than necessary.

15                THE COURT:    All right.    Thank you, ma'am.

16          Mr. Rose, would you like to make a statement?

17                THE DEFENDANT:    Yes, sir.

18          Your Honor, Ms. Peters touched on a lot of what I'm facing.

19    The reality is is I sat down and wrote pages and pages of what I

20    wanted to say.     And everything I wrote down I seen you shooting

21    down because, just like she said, I love my family and my

22    children.    If I was on trial for that today, I probably wouldn't

23    get convicted because if I was, if I did, if I showed that, I

24    wouldn't have been here, and I wouldn't have done the things

25    that tore my family apart.


                           Elaine Hinson, RMR, CRR, CCR
                           United States Court Reporter
     Case 4:09-cr-00304-JMM Document 35 Filed 07/21/10 Page 12 of 16
                                                                              12




 1          There's two different groups of people out there in the

 2    audience.    One of them is my wife's father, who has a real ill

 3    feeling towards me, and my family, who loves me.           And they have

 4    seen both sides.     If both of them got to speak, you would see

 5    from one version who I am when I'm on dope.         I mean, I'm an

 6    addict, and there's no doubt about it.         And I've fought with it.

 7    The other side, the people that have seen me also when I'm not.

 8    And my PSI, I know it shows in there ten years of trouble, but

 9    also excess time of drug use.       This is the first time that I've

10    ever sought help that wasn't court ordered, probation ordered,

11    to get out of jail, to get out of trouble.         I saw it tearing my

12    family apart, and I tried to stop it.        I was too late.

13          And I don't think I'm a lost cause, you know.          There's some

14    letters in there and some people standing with me from the past

15    four years when I did well.       And they saw the kind of person

16    that I could be, and I thank them for that.         But I'm not a lost

17    cause.   There's some -- I made some mistakes definitely.          Doing

18    this around my children was the most idiotic thing I ever done,

19    and I can't take it back.       But she said hope.     They say hope is

20    the food of faith and without hope faith dies.          So I'm hoping

21    today that I don't go unfed.       I'm looking for some hope today.

22    It's a big day in my life, so I guess that's about it.

23                THE COURT:    All right, sir.     Thank you.

24          Ms. Mazzanti, did you want to make a statement?

25                MS. MAZZANTI:    Yes, Your Honor.     Your Honor, the


                           Elaine Hinson, RMR, CRR, CCR
                           United States Court Reporter
     Case 4:09-cr-00304-JMM Document 35 Filed 07/21/10 Page 13 of 16
                                                                             13




 1    government is requesting a sentence at the top of the guideline

 2    range, in particular because of the enhancement under 860a.

 3    That is a 20-year possible statutory enhancement above and

 4    beyond the 40-year end of the guideline range.          Additionally, I

 5    would note that although the three-point enhancement under the

 6    guidelines is taken into account, when you calculate the

 7    guideline range under 2D1.1, it is not added on top of the

 8    career offender range.      The career offender range is there

 9    simply to take into account the fact of the serious criminal

10    history that Mr. Rose has.       So the fact that it's not taken into

11    account, the 860a enhancement is not taken into account by the

12    career offender statute I believe warrants a sentence at the top

13    of the range in and of itself.

14            This may be a different story if this was the first time

15    that this had been an issue, cooking meth around children.         But,

16    as Mr. Rose said himself and as was mentioned during the plea

17    colloquy, he told the police officers that he went to prison for

18    allegedly setting his ex-wife's house on fire because they were

19    cooking meth around his three-year-old daughter at the time.           So

20    this is not the first time this happened.

21            In addition, I understand that he put towels under the

22    door.    But as evidenced by the DEA cleanup costs, I don't think

23    there is any dispute that that doesn't really do anything.         The

24    860a enhancement, it is there for a reason.         And the children

25    are who were harmed by that.       And we probably all, in the line


                           Elaine Hinson, RMR, CRR, CCR
                           United States Court Reporter
     Case 4:09-cr-00304-JMM Document 35 Filed 07/21/10 Page 14 of 16
                                                                                  14




 1    of work we do, we've seen the damaging effects of that on the

 2    health of the children.

 3            In addition, I would note that all of the criminal history,

 4    it's not from ten years ago.       It happened throughout the past

 5    ten years.    You know, there are charges from when he was 28 and

 6    then 32.     So this is not just something that is simply ten years

 7    ago, he made some mistakes.       He continued to make mistakes over

 8    the course of the past ten years.

 9            I think that that pretty much sums up the reason that I

10    think that a sentence at the top of the guideline range is

11    appropriate to take into account the 860a enhancement.              Thank

12    you.

13                 THE COURT:   Thank you.

14            Mr. Rose, I, of course, listened carefully to your

15    statements, and I understand your position on this.              And Ms.

16    Peters is always very persuasive in the arguments that she makes

17    on behalf of her clients.       But I deem this to be a very serious

18    offense and not inconsistent with some past conduct on your

19    part.    You have, you know, a tremendous criminal history.           I

20    know you are aware of it, and I know a lot of it is drug

21    related.     But there are lots of crimes here that concern me a

22    lot.

23            So I'm going to address all of these factors, and I think

24    the sentence I give you will be sufficient but no greater than

25    what is necessary here to meet the criteria.          So the sentence


                           Elaine Hinson, RMR, CRR, CCR
                           United States Court Reporter
     Case 4:09-cr-00304-JMM Document 35 Filed 07/21/10 Page 15 of 16
                                                                            15




 1    will be that you will be committed to the custody of the Bureau

 2    of Prisons for a term of 200 months plus 12 months consecutive

 3    for the violation of 21 U.S. Code Section 860a, for a total of

 4    212 months.

 5          And I do recommend that you participate in the RDAP

 6    program; that is, the residential substance abuse treatment

 7    program, and also educational and vocational programs and mental

 8    health counseling during your incarceration.

 9          This will be followed by a term of supervised release of

10    four years with these special conditions:         First, that you

11    participate under the guidance and supervision of the probation

12    officer in a substance abuse treatment program, which may

13    include testing, counseling, and residential treatment.          And you

14    shall abstain from the use of alcohol throughout the course of

15    treatment.    You shall cooperate in the collection of DNA as

16    directed by the probation officer.        You shall participate in

17    mental health counseling under the guidance of the probation

18    office.    You shall disclose financial information on the request

19    of the probation office.      That would include, but not be limited

20    to, loans, lines of credit, and tax returns.          And you should not

21    establish any new lines of credit.

22          There's no fine, because I don't think you could pay one.

23    But there is a $100 special assessment.         And there's also

24    restitution of $1,391.50, which is mandatory.          And that would be

25    payable to DEA Headquarters, reference appropriation No.


                           Elaine Hinson, RMR, CRR, CCR
                           United States Court Reporter
     Case 4:09-cr-00304-JMM Document 35 Filed 07/21/10 Page 16 of 16
                                                                              16




 1    2009B-2345330-SCOPR240-2345330 to the attention of Betty Myers

 2    at 8701 Morissette Drive, Springfield, Virginia, 22152.            During

 3    your incarceration and supervised release or during

 4    incarceration, you will pay 50 percent of all funds available to

 5    you.   And during your residential reentry placement and your

 6    supervised release, the payments will be reduced to 10 percent

 7    of your gross monthly income with the interest requirement

 8    waived.    And we will include in the judgment and commitment

 9    order the forfeiture of the two firearms.

10           Any objection to the form of the sentence, Ms. Peters?

11                MS. PETERS:    No, Your Honor.

12                THE COURT:    Mr. Rose, you have a right to appeal both

13    from your plea, if you think it was obtained illegally, and also

14    from the sentence that I've just imposed.         And Ms. Peters will

15    explain to you if you intend to appeal you must do that within

16    ten days after we enter a written judgment on the sentence.            And

17    I'll remand you to the marshal then to serve the sentence.            Did

18    you want me to make a recommendation?

19                MS. PETERS:    No, Your Honor.

20                THE COURT:    That's fine.    We'll be in recess.

21           (Proceedings concluded at 3:04 p.m.)

22                              REPORTER'S CERTIFICATE

23        I certify that the foregoing is a correct transcript from
      the record of proceedings in the above-entitled matter.
24

25    /s/Elaine Hinson, RMR, CRR, CCR           Date:    July 9, 2010.
      United States Court Reporter

                           Elaine Hinson, RMR, CRR, CCR
                           United States Court Reporter
